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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

__________________________________________
LAURITA SULLIVAN and CARLOS BRYANT, )
on behalf of themselves and all others     )
similarly situated;                        )
                                           )
                      Plaintiffs,          )
                                           )
v.                                         )                  C.A. No. 1:17-cv-12009
                                           )
SLEEPY’S LLC;                              )
MATTRESS FIRM, INC.;                       )
                                           )
                      Defendants.          )


    JOINT MOTION FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
     AGREEMENT, DIRECTING NOTICE TO THE CLASS, AND SCHEDULING
                         FAIRNESS HEARING

       The action was brought by the Plaintiffs Laurita Sullivan and Carlos Bryant (the

“Plaintiffs” or “Named Plaintiffs”) against Sleepy’s LLC and Mattress Firm, Inc. (collectively

“Defendants”) on behalf of commissioned salespeople, (collectively, “Class” or “Class

Members”) who worked for Sleepy’s LLC n Massachusetts.                 Defendants have denied all

wrongdoing and liability to Plaintiffs and the Class Members, and have defended the lawsuit

vigorously.

       The parties have reached an agreement to settle this action on a class-wide basis

(Settlement Agreement attached as Exhibit A). The proposed settlement is a fair result for the

class and will allow the class to avoid the delay and uncertainty of further litigation.

       The Plaintiffs and Defendants, for the reasons set forth in their memorandum,

respectfully request that this Court grant preliminary approval of the settlement and the proposed

Plan of Distribution as fair, reasonable, and adequate, authorize the Administrator to mail the
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proposed Notice of settlement and claim form to the class and schedule a Fairness Hearing for a

date no earlier than December 14, 2019.


                                           Respectfully submitted,

                                           Plaintiffs

                                           By their attorneys,

                                                   /s/
                                           ___________________________
                                           James D. Livingstone. BBO #640536
                                           John P. Regan, Esq. BBO #684326
                                           Employee Rights Group, LLC
                                           185 Devonshire Street, Suite 200
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                                           T: (857) 277-0902
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                                           jay@maemployeerights.com
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                                           DEFENDANTS SLEEPY’S LLC and MATTRESS
                                           FIRM, INC.,
                                           By their attorneys,

                                           /s/ Diane M. Saunders
                                           Diane M. Saunders, BBO #562872
                                           OGLETREE, DEAKINS, NASH, SMOAK
                                             & STEWART, P.C.
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Dated: July 31, 2019




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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 31, 2019, I served an original and copy of the foregoing
document upon counsel for Defendants via the Court’s ECF system.

                                                         /s/
                                                 _______________________
                                                 John P. Regan




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